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 2                              UNITED STATES DISTRICT COURT

 3                           NORTHERN DISTRICT OF CALIFORNIA

 4                                        OAKLAND DIVISION
 5
      TONY DICKEY and PAUL PARMER,                Case No. 4:15-cv-04922-HSG
 6    individually and on behalf of all others
      similarly situated,                         CLASS ACTION SETTLEMENT
 7                                                AGREEMENT
                            Plaintiffs,
 8                                                Judge: Hon. Haywood S. Gilliam, Jr.
               v.
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10    ADVANCED MICRO DEVICES, INC., a
      Delaware corporation,
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                            Defendant.
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 1          This Agreement (“Agreement” or “Settlement Agreement”) is entered on this 9th day of

 2   August, 2019 by and among (i) Tony Dickey and Paul Parmer (the “Named Plaintiffs”); (ii) the

 3   Settlement Class (as defined herein); and (iii) Defendant Advanced Micro Devices, Inc. (“AMD”

 4   or “Defendant”), by and through their respective counsel. The Settlement Class and Named

 5   Plaintiffs are collectively referred to as the “Plaintiffs” unless otherwise noted. The Plaintiffs and

 6   the Defendant are collectively referred to herein as the “Parties.” This Agreement is intended by

 7   the Parties to fully, finally and forever resolve, discharge, and settle the Released Claims (as

 8   defined herein), upon and subject to the terms and conditions of this Agreement, and subject to the
 9   final approval of the Court.

10                                            RECITALS

11          A.      On October 26, 2015 plaintiff Tony Dickey filed a putative class action complaint

12   (the “Complaint”) against Defendant in the Northern District of California, alleging violations of

13   Cal. Civ. Code §§ 1750 et seq., violations of Cal. Bus. & Prof. Code §§ 17200, et seq., violations

14   of Cal. Bus. & Prof. Code §§ 17500, et seq., common law fraudulent inducement; common law

15   breach of express warranties, negligent misrepresentation, and unjust enrichment.

16          B.      In response to the Complaint, on December 21, 2015, Defendant moved to dismiss

17   pursuant to Fed. R. Civ. P. 12. After full briefing and argument, on April 7, 2016, the Court

18   granted Defendant’s motion to dismiss with leave to amend.

19          C.      Thereafter, on May 5, 2016, Plaintiffs filed a First Amended Complaint (the

20   “FAC”) which removed the claim for unjust enrichment, but realleged the other causes of action

21   that were included in the Complaint.

22          D.      In response to the FAC, on May 26, 2016, Defendant again moved to dismiss

23   pursuant to Fed. R. Civ. P. 12. After full briefing and argument, on October 31, 2016, the Court

24   granted Defendant’s motion to dismiss with leave to amend.

25          E.      Thereafter, on November 21, 2016, Plaintiffs filed a Second Amended Complaint

26   (the “SAC”), realleging all causes of action that were included in the FAC.

27          F.      In response to the SAC, on December 15, 2016, Defendant once again moved to

28   dismiss pursuant to Fed. R. Civ. P. 12. After full briefing and argument, on June 14, 2017, the

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 1   Court granted in part, and denied in part, the motion to dismiss, granting the motion as to

 2   Plaintiff’s claim for injunctive relief, and denying the motion in all other respects.

 3             G.   Thereafter, on July 19, 2017, the Defendant answered the SAC. The Parties then

 4   embarked on discovery, exchanging substantial fact and expert discovery, including document

 5   production, exchanges of multiple sets of interrogatories, depositions of plaintiffs, and disclosure

 6   of expert reports.

 7             H.   On March 27, 2018, Plaintiffs filed a motion to certify the Unfair Competition Law

 8   and False Advertising Law claims of a proposed class.
 9             I.   On January 17, 2019, the Court granted Plaintiffs’ motion and certified a class

10   comprised of “[a]ll individuals who purchased one or more of the following AMD computer chips

11   either (1) while residing in California or (2) after visiting the AMD.com website: FX-8120, FX-

12   8150, FX-8320, FX-8350, FX-8370, FX-9370, and FX- 9590.”

13             J.   On March 28, 2019 and on June 3, 2019, amended case schedules were entered,

14   under which fact discovery would close in September 2019.

15             K.   Throughout the pendency of the Action, the Parties discussed the prospect of

16   settlement. In August 2016, they had agreed to an early mediation with the former Chief

17   Magistrate Judge of the Northern District of Illinois, the Honorable Morton Denlow (ret.) of

18   JAMS (Chicago). However, an initial call with Judge Denlow on August 18, 2016 revealed that

19   the Parties had dramatically different views on settlement. As a result, and at the suggestion of

20   Judge Denlow, the Parties agreed to cancel the mediation. Nevertheless, the Parties committed to

21   revisiting settlement talks at a later date if they deemed it appropriate.

22             L.   After much litigation, in January 2019, the Parties agreed to attend a full-day

23   mediation, with the former Chief Judge of the Northern District of Illinois, the Honorable James F.

24   Holderman (ret.) of JAMS (Chicago). On May 9, 2019, the Parties attended a full-day mediation

25   before Judge Holderman, and after several rounds of arms’ length negotiations, ultimately reached

26   a class action settlement that, if finally approved by the Court, would completely resolve this

27   Action.

28             M.   At all times, Defendant has denied and continues to deny any wrongdoing

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 1   whatsoever and has denied and continues to deny that it committed, or threatened or attempted to

 2   commit, any wrongful act or violation of law or duty alleged in the Action. Nonetheless, taking

 3   into account the uncertainty and risks inherent in any litigation, Defendant has concluded it is

 4   desirable and beneficial that the Action be fully and finally settled and terminated in the manner

 5   and upon the terms and conditions set forth in this Agreement. This Agreement is a compromise,

 6   and the Agreement, any related documents, and any negotiations resulting in it shall not be

 7   construed as or deemed to be evidence of or an admission or concession of liability or wrongdoing

 8   on the part of Defendant, or any of the Released Parties (defined below), with respect to any claim
 9   of any fault or liability or wrongdoing or damage whatsoever.

10           N.      Plaintiffs believe that the claims asserted in the Action against Defendant have

11   merit and that they would have prevailed at summary judgment and/or trial. Nonetheless, Plaintiffs

12   and Class Counsel recognize that Defendant has raised factual and legal defenses that present a

13   risk that Plaintiffs may not prevail. Plaintiffs and Class Counsel also recognize the expense and

14   delay associated with continued prosecution of the Action against Defendant through summary

15   judgment, trial, and any further appeals. Plaintiffs and Class Counsel have also taken into account

16   the uncertain outcome and risks of litigation, especially in complex class actions, as well as the

17   difficulties inherent in such litigation. Therefore, Plaintiffs believe it is desirable that the Released

18   Claims be fully and finally compromised, settled, and resolved with prejudice. Based on their

19   evaluation, Class Counsel have concluded that the terms and conditions of this Agreement are fair,

20   reasonable, and adequate to the Settlement Class, and that it is in the best interests of the

21   Settlement Class to settle the claims raised in the Action pursuant to the terms and provisions of

22   this Agreement.

23           NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among

24   Named Plaintiffs, the Settlement Class, and each of them, and Defendant, by and through their

25   undersigned counsel that, subject to final approval of the Court after a hearing or hearings as

26   provided for in this Settlement Agreement, in consideration of the benefits flowing to the Parties

27   from the Agreement set forth herein, that the Action and the Released Claims shall be finally and

28   fully compromised, settled, and released, and the Action shall be dismissed with prejudice, upon

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 1   and subject to the terms and conditions of this Agreement.

 2                                         AGREEMENT

 3   1.       DEFINITIONS.

 4            As used in this Settlement Agreement, the following terms have the meanings specified

 5   below:

 6            1.1    “Action” means Tony Dickey and Paul Parmer v. Advanced Micro Devices, Inc.,

 7   Case No. 4:15-cv-04922-HSG, pending in the United States District Court for the Northern

 8   District of California, Oakland Division.
 9            1.2    “Approved Claim” means a Claim Form submitted by a Settlement Class Member

10   that: (a) is submitted timely and in accordance with the directions on the Claim Form and the

11   provisions of the Settlement Agreement; (b) is fully and truthfully completed by a Settlement

12   Class Member with all of the information requested in the Claim Form; (c) is signed by the

13   Settlement Class Member, physically or electronically; and (d) is approved by the Settlement

14   Administrator pursuant to the provisions of this Agreement.

15            1.3    “Claim Form” means the document substantially in the form attached hereto as

16   Exhibit A, as approved by the Court. The Claim Form, to be completed by Settlement Class

17   Members who wish to file a Claim for a payment, shall be available in electronic and paper format

18   in the manner described below.

19            1.4    “Claims Deadline” means the date by which all Claim Forms must be postmarked

20   or received to be considered timely and shall be set at a date no later than seven (7) days prior to

21   the Final Approval Hearing. The Claims Deadline shall be clearly set forth in the Order for Notice

22   and Hearing as well as in the Notice and the Claim Form.

23            1.5    “Class Counsel” means Rafey S. Balabanian and Todd Logan of Edelson PC.

24            1.6    “Class Representatives” means the Named Plaintiffs in this Action, Tony Dickey

25   and Paul Parmer.

26            1.7    “Court” means the United States District Court for the Northern District of

27   California, the Honorable Haywood S. Gilliam, Jr. presiding, or any judge who shall succeed him

28   as the Judge in this Action.

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 1          1.8     “Defendant” means Advanced Micro Devices, Inc., the defendant in the Action.

 2          1.9     “Defendant’s Counsel” means Matthew D. Powers and E. Clay Marquez of

 3   O’Melveny & Myers LLP.

 4          1.10    “Effective Date” means the date ten (10) days after which all of the events and

 5   conditions specified in Paragraph 9.1 have been met and have occurred.

 6          1.11    “Escrow Account” means the separate, interest-bearing escrow account to be

 7   established by the Settlement Administrator under terms acceptable to all Parties at a depository

 8   institution insured by the Federal Deposit Insurance Corporation. The Settlement Payments shall
 9   be deposited by Defendant into the Escrow Account and the money in the Escrow Account shall

10   be invested in the following types of accounts and/or instruments and no other: (i) demand deposit

11   accounts and/or (ii) time deposit accounts and certificates of deposit, in either case with maturities

12   of forty-five (45) days or less. The costs of establishing and maintaining the Escrow Account shall

13   be paid from the Settlement Fund.

14          1.12    “Fee Award” means the amount of attorneys’ fees and reimbursement of expenses

15   awarded by the Court to Class Counsel, which will be paid out of the Settlement Fund.

16          1.13    “Final” means one business day following the latest of the following events: (i) the

17   date upon which the time expires for filing or noticing any appeal of the Court’s Final Judgment

18   approving the Settlement Agreement; (ii) if there is an appeal or appeals, other than an appeal or

19   appeals solely with respect to the Fee Award, the date of completion, in a manner that finally

20   affirms and leaves in place the Final Judgment without any material modification, of all

21   proceedings arising out of the appeal or appeals (including, but not limited to, the expiration of all

22   deadlines for motions for reconsideration or petitions for review and/or certiorari, all proceedings

23   ordered on remand, and all proceedings arising out of any subsequent appeal or appeals following

24   decisions on remand); or (iii) the date of final dismissal of any appeal or the final dismissal of any

25   proceeding on certiorari.

26          1.14    “Final Approval Hearing” means the hearing before the Court where the Parties

27   will request the Final Judgment to be entered by the Court approving the Settlement Agreement,

28   the Fee Award, and the incentive award to the Class Representatives.

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 1          1.15    “Final Judgment” or “Final Settlement Order” means the Final Judgment and

 2   Order to be entered by the Court approving the Agreement after the Final Approval Hearing.

 3          1.16    “Notice” means the notice of this proposed Class Action Settlement Agreement

 4   and Final Approval Hearing, which is to be sent to the Settlement Class substantially in the

 5   manner set forth in this Agreement, is consistent with the requirements of Due Process and Rule

 6   23, and is substantially in the form of Exhibits B, C, and D hereto.

 7          1.17    “Notice Date” means the date by which the Notice set forth in Paragraph 4.1 is

 8   complete, which shall be no later than forty-five (45) days after Preliminary Approval.
 9          1.18    “Objection/Exclusion Deadline” means the date by which a written objection to

10   this Settlement Agreement or a request for exclusion submitted by a Person within the Settlement

11   Class must be made, which shall be designated as a date no later than forty-five (45) days after the

12   Notice Date and no sooner than fourteen (14) days after papers supporting the Fee Award are filed

13   with the Court and posted to the settlement website listed in Paragraph 4.1(d), or such other date

14   as ordered by the Court.

15          1.19    “Person” shall mean, without limitation, any individual, corporation, partnership,

16   limited partnership, limited liability company, association, joint stock company, estate, legal

17   representative, trust, unincorporated association, and any business or legal entity and their

18   spouses, heirs, predecessors, successors, representatives, or assigns. “Person” is not intended to

19   include any governmental agencies or governmental actors, including, without limitation, any state

20   Attorney General office.

21          1.20    “Plaintiffs” means Tony Dickey, Paul Parmer, and the Settlement Class Members.

22          1.21    “Preliminary Approval” means the Court’s preliminary approval of this

23   Settlement Agreement, and approval of the form and manner of the Notice.

24          1.22    “Preliminary Approval Order” means the order preliminarily approving the

25   Settlement Agreement and directing notice thereof to the Settlement Class, which will be agreed

26   upon by the Parties and submitted to the Court in conjunction with Plaintiffs’ motion for

27   preliminary approval of the Agreement.

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 1           1.23    “Released Claims” means any and all actual, potential, filed, known or unknown,

 2   fixed or contingent, claimed or unclaimed, suspected or unsuspected, claims, demands, liabilities,

 3   rights, causes of action, contracts or agreements, extracontractual claims, damages, punitive,

 4   exemplary or multiplied damages, expenses, costs, attorneys’ fees and or obligations (including

 5   “Unknown Claims,” as defined below), whether in law or in equity, accrued or unaccrued, direct,

 6   individual or representative, of every nature and description whatsoever, whether based on

 7   California’s Unfair Competition Law, California’s False Advertising Law, California’s Consumer

 8   Legal Remedies Act, or on claims of fraudulent inducement, breach of express warranty, or
 9   negligent misrepresentation, or other federal, state, local, statutory or common law or any other

10   law, rule or regulation, against the Released Parties, or any of them, arising out of any marketing

11   materials, advertising, descriptions, facts, transactions, events, matters, occurrences, acts,

12   disclosures, statements, representations, omissions or failures to act regarding the number of cores

13   in AMD’s FX-8120, FX-8150, FX-8320, FX-8350, FX-8370, FX-9370, and FX- 9590 processors,

14   including all claims that were brought or could have been brought in the Action relating to

15   representations about those CPUs.

16           1.24    “Released Parties” means Defendant Advanced Micro Devices, Inc., as well as

17   any and all of its respective present or past heirs, executors, estates, administrators, predecessors,

18   successors, subsidiaries, direct and indirect distributors, resellers, and customers (including

19   through multiple levels of sale or distribution), licensors, licensees, associates, affiliates,

20   employers, employees, agents, consultants, independent contractors, insurers, directors, managing

21   directors, officers, partners, principals, members, attorneys, accountants, financial and other

22   advisors, underwriters, shareholders, lenders, auditors, investment advisors, legal representatives,

23   successors in interest, assigns and companies, firms, and trusts.

24           1.25    “Releasing Parties” means Plaintiffs, those Settlement Class Members who do not

25   timely opt out of the Settlement Class, and all of their respective present or past heirs, executors,

26   estates, administrators, predecessors, successors, assigns, parent companies, subsidiaries,

27   associates, affiliates, employers, employees, agents, consultants, independent contractors, insurers,

28   directors, managing directors, officers, partners, principals, members, attorneys, accountants,

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 1   financial and other advisors, underwriters, shareholders, lenders, auditors, investment advisors,

 2   legal representatives, successors in interest, assigns and companies, firms, trusts, and corporations.

 3          1.26    “Settlement Administration Expenses” means the expenses incurred by the

 4   Settlement Administrator in providing Notice, processing claims, responding to inquiries from

 5   members of the Settlement Class, mailing checks for Approved Claims, and related services. The

 6   Settlement Administrator anticipates the total cost of Settlement Administration to be

 7   approximately $350,000-$700,000, depending on factors such as the number of physical addresses

 8   ultimately produced pursuant to subpoenas served upon third parties to this litigation.
 9          1.27    “Settlement Administrator” means Angeion Group, subject to Court approval,

10   who shall oversee the distribution of Notice, as well as the processing and payment of Approved

11   Claims to the Settlement Class as set forth in this Agreement.

12          1.28    “Settlement Class” means all Persons who purchased one or more of the following

13   AMD computer chips either (1) while residing in California or (2) after visiting the AMD.com

14   website: FX-8120, FX-8150, FX-8320, FX-8350, FX-8370, FX-9370, and FX-9590. Excluded

15   from the Settlement Class are (1) any Judge or Magistrate presiding over this action and members

16   of their families, (2) the defendant, defendant’s subsidiaries, parent companies, successors,

17   predecessors, and any entity in which the defendant or its parents have a controlling interest and

18   their current or former officers, directors, and employees, (3) persons who properly execute and

19   file a timely request for exclusion from the class, and (4) the legal representatives, successors or

20   assigns of any such excluded persons.

21          1.29    “Settlement Class Member” means a Person who falls within the definition of the

22   Settlement Class as set forth above and who has not submitted a valid request for exclusion.

23          1.30    “Settlement Fund” means the non-reversionary cash fund that shall be

24   established by Defendant in the total amount of twelve million one hundred thousand dollars

25   ($12,100,000.00) to be deposited into the Escrow Account via Defendant’s Settlement Payments,

26   plus all interest earned thereon. From the Settlement Fund, the Settlement Administrator shall pay

27   all Approved Claims made by Settlement Class Members, Settlement Administration Expenses,

28   any incentive award to the Class Representatives, and any Fee Award to Class Counsel. The

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 1   Settlement Fund shall be kept in the Escrow Account with permissions granted to the Settlement

 2   Administrator to access said funds until such time as the above-listed payments are made. The

 3   Settlement Fund includes all interest that shall accrue on the sums deposited in the Escrow

 4   Account. The Settlement Administrator shall be responsible for all tax filings with respect to any

 5   earnings on the Settlement Fund and the payment of all taxes that may be due on such earnings.

 6   The Settlement Payments represents the total extent of Defendant’s monetary obligations under

 7   this Agreement. In no event shall Defendant’s total monetary obligation with respect to this

 8   Agreement exceed or be less than twelve million one hundred thousand dollars ($12,100,000.00)
 9          1.31    “Settlement Payments” means those payments made by Defendant, totaling

10   twelve million one hundred thousand dollars ($12,100,000.00), and deposited in the Escrow

11   Account for the purpose of establishing the Settlement Fund.

12          1.32    “Unknown Claims” means claims that could have been raised in the Action and

13   that any or all of the Releasing Parties do not know or suspect to exist, which, if known by him or

14   her, might affect his or her agreement to release the Released Parties or the Released Claims or

15   might affect his or her decision to agree, object or not to object to the Settlement. Upon the

16   Effective Date, the Releasing Parties shall be deemed to have, and shall have, expressly waived

17   and relinquished, to the fullest extent permitted by law, the provisions, rights and benefits of

18   § 1542 of the California Civil Code, which provides as follows:

19          A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
            CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO
20          EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE
            AND THAT, IF KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY
21          AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR OR RELEASED
            PARTY.
22
     Upon the Effective Date, the Releasing Parties also shall be deemed to have, and shall have,
23
     waived any and all provisions, rights and benefits conferred by any law of any state or territory of
24
     the United States, or principle of common law, or the law of any jurisdiction outside of the United
25
     States, which is similar, comparable or equivalent to § 1542 of the California Civil Code. The
26
     Releasing Parties acknowledge that they may discover facts in addition to or different from those
27
     that they now know or believe to be true with respect to the subject matter of this release, but that
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 1   it is their intention to finally and forever settle and release the Released Claims, notwithstanding

 2   any Unknown Claims they may have, as that term is defined in this Paragraph.

 3   2.     SETTLEMENT CONSIDERATION.

 4          In consideration of the Release provided for in Section 3 and the dismissal of the Action

 5   with prejudice, AMD agrees to provide the following consideration to the Plaintiffs under the

 6   terms of the Settlement Agreement.

 7          2.1     Monetary Compensation.

 8                  (a)     Defendant shall pay or cause to be paid into the Escrow Account an initial
 9   Settlement Payment in the amount of six million fifty thousand dollars ($6,050,000.00) within

10   fourteen (14) business days after Preliminary Approval. Defendants shall then pay or cause to be

11   paid into the Escrow Account a second and final Settlement Payment in the amount of six million

12   fifty thousand dollars ($6,050,000.00) within ten (10) business days after Final Approval.

13                  (b)     Settlement Class Members shall have until the Claims Deadline to submit

14   an Approved Claim for up to five (5) qualifying purchases of an FX-8120, FX-8150, FX-8320,

15   FX-8350, FX-8370, FX-9370, or FX-9590 CPU(s), without proof of purchase. Settlement Class

16   Members seeking to file a claim for more than five (5) qualifying purchases will be required to

17   provide the Claims Administrator with reasonable proof of purchase. Each Settlement Class

18   Member with an Approved Claim shall be entitled to a pro rata portion, on a per- -CPU basis, of

19   the Settlement Fund to be paid by check after deducting the Settlement Administration Expenses,

20   any Fee Award to Class Counsel, any incentive award for the Class Representatives, and any other

21   amounts payable under the Agreement.

22                  (c)     In the event that the total pro rata, per-CPU distribution entitlement of any

23   individual class member exceeds $300 (i.e., the approximate original retail price of the AMD FX-

24   9590 CPU ), all amounts above and beyond $300 per CPU shall be distributed to a reasonable cy

25   pres recipient, subject to Court approval.

26                  (d)     Within sixty (60) days after the Effective Date, or such other date as the

27   Court may set, the Settlement Administrator shall pay from the Settlement Fund all Approved

28   Claims by check.

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 1                  (e)     All cash payments issued to Settlement Class Members via check will state

 2   on the face of the check that it will expire and become null and void unless cashed within ninety

 3   (90) days after the date of issuance. To the extent that a check issued to a Settlement Class

 4   Member is not cashed within ninety (90) days after the date of issuance, such funds shall be placed

 5   into a Second Distribution fund. If appropriate, at the Parties’ election, funds remaining from any

 6   uncashed checks provided during the initial distribution may be used for a Second Distribution to

 7   participating class members on a pro rata basis, and/or may be directed to an appropriate cy pres

 8   recipient, agreed upon by the Parties and subject to Court approval, in lieu of a Second
 9   Distribution. To the extent that a Second Distribution is made and any Second Distribution checks

10   remain uncashed after ninety (90) days, such funds shall be directed to an appropriate cy pres

11   recipient, agreed upon by the Parties and subject to Court approval.

12                  (f)     Subject to Court approval, the Parties agree to engage the Rose Foundation,

13   located at 201 4th Street, Suite 102, Oakland, CA 94607, for purposes of managing the distribution

14   of any cy pres funds and the selection of an appropriate cy pres recipient(s) whose work is closely

15   related to the issues raised by this litigation and/or furthers the objectives of this Settlement

16   Agreement. The Parties further agree that any Rose Foundation fees will be paid exclusively from

17   the Settlement Fund.

18   3.     RELEASE.

19          3.1     The obligations incurred pursuant to this Settlement Agreement shall be a full and

20   final disposition of the Action and any and all Released Claims, as against all Released Parties.

21          3.2     Upon the Effective Date, the Releasing Parties, and each of them, shall be deemed

22   to have, and by operation of the Final Judgment shall have, fully, finally, and forever released,

23   relinquished, and discharged all Released Claims against the Released Parties, and each of them.

24   4.     NOTICE TO THE CLASS.

25          4.1     The Notice Plan shall consist of the following:

26                  (a)     Settlement Class List. No later than fourteen (14) business days after the

27   execution of this Agreement, Class Counsel will seek to obtain the last known U.S. Mail addresses

28   and email addresses of Persons in the Settlement Class by issuing subpoenas for such information

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 1   to certain third-party resellers of AMD’s processors at issue in the Action and provide that contact

 2   information to the Settlement Administrator. The Settlement Administrator shall use this

 3   information to create the “Class List,” a copy of which shall be provided to Class Counsel and

 4   Defendant’s Counsel.

 5                  (b)     Direct Notice via U.S. Mail. No later than the Notice Date, the Settlement

 6   Administrator shall send notice substantially in the form attached as Exhibit B and a postcard

 7   Claim Form with return postage prepaid via First Class U.S. Mail to all Settlement Class Members

 8   whose U.S. Mail address is available in the Class List. In the event that claims representing fewer
 9   than 50,000 CPU purchases have been submitted by the date that is thirty (30) days prior to the

10   Claims Deadline, the Settlement Administrator shall again send notice substantially in the form

11   attached as Exhibit B and a postcard Claim Form with return postage prepaid via First Class U.S.

12   Mail to all Settlement Class Members whose U.S. Mail address is available in the Class List.

13                  (c)     Direct Notice via Email. No later than the Notice Date, the Settlement

14   Administrator shall send Notice via email substantially in the form attached as Exhibit C, along

15   with an electronic link to the Claim Form, to all Settlement Class Members for whom a valid

16   email address is available in the Class List. In the event transmission of email notice results in any

17   “bounce-backs,” the Settlement Administrator shall, if possible, correct any issues that may have

18   caused the “bounce-back” to occur and make a second attempt to re-send the email notice. Thirty

19   (45) days prior to the Claims Deadline, the Settlement Administrator shall again send Notice via

20   email substantially in the form attached as Exhibit C, along with an electronic link to the Claim

21   Form, to all Settlement Class Members for whom a valid email address is available in the Class

22   List.

23                  (d)     Settlement Website. Within ten (10) days from Preliminary Approval,

24   Notice shall be provided on a website at www.amdcpusettlement.com, which shall be

25   administered and maintained by the Settlement Administrator and shall include the ability to file

26   Claim Forms on-line. The Notice provided on the Settlement Website shall be substantially in the

27   form of Exhibit D hereto. The Settlement Website will be periodically updated to provide the

28   estimated pro rata payment amount based on the number of participating Settlement Class

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 1   Members.

 2                  (e)     Digital Publication Notice. The Settlement Administrator will supplement

 3   the direct mail postcard and email notice with Internet banner ads, which allows access to several

 4   thousand premium high-quality websites likely to be visited by Settlement Class Members. These

 5   ads will run for at least one month and will contain active hyperlinks to the Settlement Website.

 6   The final banner ads, and the banner ad program, to be used shall to be subject to the final

 7   approval of Defendant, approval not to be unreasonably withheld. Any disputes between the

 8   Parties regarding banner ads shall be submitted to the Honorable James F. Holderman (ret.) of
 9   JAMS for binding determination.

10                  (f)     CAFA Notice. Pursuant to 28 U.S.C. § 1715, not later than ten (10) days

11   after the Agreement is filed with the Court, Defendant shall cause to be served upon the Attorneys

12   General of each U.S. State in which Settlement Class members reside, the Attorney General of the

13   United States, and other required government officials, notice of the proposed settlement as

14   required by law.

15          4.2     The Notice shall advise the Settlement Class of their rights, including the right to

16   be excluded from, comment upon, and/or object to the Settlement Agreement or any of its terms.

17   The Notice shall specify that any objection to the Settlement Agreement, and any papers submitted

18   in support of said objection, shall be considered by the Court at the Final Approval Hearing only

19   if, on or before the Objection/Exclusion Deadline approved by the Court and specified in the

20   Notice, the Person making the objection files notice of an intention to do so and at the same time

21   (a) files copies of such papers he or she proposes to be submitted at the Final Approval Hearing

22   with the Clerk of the Court, or alternatively, if the objection is from a Class Member represented

23   by counsel, files any objection through the Court’s CM/ECF system, and (b) sends copies of such

24   papers by mail, hand, or overnight delivery service to Class Counsel and Defendant’s Counsel.

25   The Notice shall also advise the Settlement Class of the total value of the Settlement Fund and the

26   approximate value of anticipated distributions per CPU.

27          4.3     Any Settlement Class Member who intends to object to this Agreement must

28   present the objection in writing, which must be personally signed by the objector, and must

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 1   include: (1) the objector’s name and address; (2) an explanation of the basis upon which the

 2   objector claims to be a Settlement Class Member, including the model of AMD CPU purchased

 3   and statement that it was either purchased while residing in California or after visiting the

 4   AMD.com website; (3) all grounds for the objection, including all citations to legal authority and

 5   evidence supporting the objection; (4) the name and contact information of any and all attorneys

 6   representing, advising, or in any way assisting the objector in connection with the preparation or

 7   submission of the objection or who may profit from the pursuit of the objection; and (5) a

 8   statement indicating whether the objector intends to appear at the Final Approval Hearing (either
 9   personally or through counsel who files an appearance with the Court in accordance with the

10   Local Rules).

11          4.4      A Settlement Class Member may request to be excluded from the Settlement Class

12   by sending a written request postmarked on or before the Objection/Exclusion Deadline approved

13   by the Court and specified in the Notice. To exercise the right to be excluded, a Person in the

14   Settlement Class must timely send a written request for exclusion to the Settlement Administrator

15   providing his/her name and address, the model of AMD processor(s) purchased, the number of

16   AMD processors purchased, and a statement that it was either purchased while residing in

17   California or after visiting the AMD.com website; a signature, the name and number of the case,

18   and a statement that he or she wishes to be excluded from the Settlement Class for purposes of this

19   Settlement. A request to be excluded that does not include all of this information, or that is sent to

20   an address other than that designated in the Notice, or that is not postmarked within the time

21   specified, shall be invalid, and the Person(s) serving such a request shall be a member(s) of the

22   Settlement Class and shall be bound as a Settlement Class Member by this Agreement, if

23   approved. Any member of the Settlement Class who validly elects to be excluded from this

24   Agreement shall not: (i) be bound by any orders or the Final Judgment; (ii) be entitled to relief

25   under this Settlement Agreement; (iii) gain any rights by virtue of this Agreement; or (iv) be

26   entitled to object to any aspect of this Agreement. The request for exclusion must be personally

27   signed by the Person requesting exclusion. So-called “mass” or “class” opt-outs shall not be

28   allowed. To be valid, a request for exclusion must be postmarked or received by the date specified

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 1   in the Notice.

 2          4.5       The Final Approval Hearing shall be no earlier than ninety (90) days after the

 3   Notice described in Paragraph 4.1(f) is provided.

 4          4.6       Any Settlement Class Member who does not, in accordance with the terms and

 5   conditions of this Agreement, seek exclusion from the Settlement Class or timely file a valid

 6   Claim Form shall not be entitled to receive any payment or benefits pursuant to this Agreement,

 7   but will otherwise be bound by all of the terms of this Agreement, including the terms of the Final

 8   Judgment to be entered in the Action and the Releases provided for in the Agreement, and will be
 9   barred from bringing any action against any of the Released Parties concerning the Released

10   Claims.

11   5.     SETTLEMENT ADMINISTRATION.

12          5.1       The Settlement Administrator shall, under the supervision of the Court, administer

13   the relief provided by this Settlement Agreement by processing Claim Forms in a rational,

14   responsive, cost effective, and timely manner. The Settlement Administrator shall maintain

15   reasonably detailed records of its activities under this Agreement. The Settlement Administrator

16   shall maintain all such records as are required by applicable law in accordance with its normal

17   business practices and such records will be made available to Class Counsel and Defendant’s

18   Counsel upon request. The Settlement Administrator shall also provide reports and other

19   information to the Court as the Court may require. The Settlement Administrator shall provide

20   Class Counsel and Defendant’s Counsel with information concerning Notice, administration, and

21   implementation of the Settlement Agreement. Should the Court request, the Parties shall submit a

22   timely report to the Court summarizing the work performed by the Settlement Administrator,

23   including a post-distribution accounting of all amounts from the Settlement Fund paid to

24   Settlement Class Members on account of Approved Claims, the number and value of checks not

25   cashed, and the amount distributed to any cy pres recipient. Without limiting the foregoing, the

26   Settlement Administrator shall:

27                    (a)    Forward to Defendant’s Counsel, with copies to Class Counsel, all original

28   documents and other materials received in connection with the administration of the Settlement,

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 1   and all copies thereof, within thirty (30) days after the date on which all Claim Forms have been

 2   finally approved or disallowed in accordance with the terms of this Agreement;

 3                  (b)    Receive requests to be excluded from the Settlement Class and other

 4   requests and promptly provide to Class Counsel and Defendant’s Counsel copies thereof. If the

 5   Settlement Administrator receives any exclusion forms or other requests after the deadline for the

 6   submission of such forms and requests, the Settlement Administrator shall promptly provide

 7   copies thereof to Class Counsel and Defendant’s Counsel;

 8                  (c)    Provide weekly reports to Class Counsel and Defendant’s Counsel,
 9   including without limitation, reports regarding the number of Claim Forms received, the number

10   approved by the Settlement Administrator, and the categorization and description of Claim Forms

11   rejected, in whole or in part, by the Settlement Administrator; and

12                  (d)    Make available for inspection by Class Counsel or Defendant’s Counsel the

13   Claim Forms received by the Settlement Administrator at any time upon reasonable notice.

14          5.2     The Settlement Administrator shall be obliged to employ reasonable procedures to

15   screen claims for abuse or fraud and deny Claim Forms where there is evidence of abuse or fraud,

16   including by cross-referencing Approved Claims with the Class List. The Settlement

17   Administrator shall determine whether a Claim Form submitted by a Settlement Class Member is

18   an Approved Claim and shall reject Claim Forms that fail to (a) comply with the instructions on

19   the Claim Form or the terms of this Agreement, or (b) provide full and complete information as

20   requested on the Claim Form. In the event a Person submits a timely Claim Form by the Claims

21   Deadline but the Claim Form is not otherwise complete, then the Settlement Administrator shall

22   give such Person one (1) reasonable opportunity to provide any requested missing information,

23   which information must be received by the Settlement Administrator no later than thirty (30)

24   calendar days after the Claims Deadline. In the event the Settlement Administrator receives such

25   information more than thirty (30) days after the Claims Deadline, then any such claim shall be

26   denied. The Settlement Administrator may contact any Person who has submitted a Claim Form to

27   obtain additional information necessary to verify the Claim Form.

28          5.4     Defendant’s Counsel and Class Counsel shall have the right to challenge the

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 1   acceptance or rejection of a Claim Form submitted by Settlement Class Members. The Settlement

 2   Administrator shall follow any agreed decisions of Class Counsel and Defendant’s Counsel as to

 3   the validity of any disputed submitted Claim Form. To the extent Class Counsel and Defendant’s

 4   Counsel are not able to agree on the disposition of a challenge, the disputed claim shall be

 5   submitted to the Honorable James F. Holderman (ret.) of JAMS for binding determination.

 6          5.5     In the exercise of its duties outlined in this Agreement, the Settlement

 7   Administrator shall have the right to reasonably request additional information from the Parties or

 8   any Settlement Class Member.
 9   6.     TERMINATION OF SETTLEMENT.

10          6.1     Subject to Paragraphs 9.1-9.3 below, Defendant or the Class Representatives on

11   behalf of the Settlement Class, shall have the right to terminate this Agreement by providing

12   written notice of the election to do so (“Termination Notice”) to all other Parties hereto within

13   twenty-one (21) days of any of the following events: (i) the Court’s refusal to grant Preliminary

14   Approval of this Agreement in any material respect; (ii) the Court’s refusal to grant final approval

15   of this Agreement in any material respect; (iii) the Court’s refusal to enter the Final Judgment in

16   this Action in any material respect; (iv) the date upon which the Final Judgment is modified or

17   reversed in any material respect by the U.S. Court of Appeals for the Ninth Circuit or the Supreme

18   Court of the United States; or (v) the date upon which an Alternative Judgment, as defined in

19   Paragraph 9.1(d) of this Agreement is modified or reversed in any material respect by the U.S.

20   Court of Appeals for the Ninth Circuit or the Supreme Court of the United States.

21          6.2     Within ten (10) business days after the last day for Settlement Class Members to

22   opt-out, the Settlement Administrator will provide to Defendant’s Counsel a list of all Persons

23   who opted out by validly requesting exclusion. In the event that the number of Persons who opted

24   out exceeds 30,000, or the number of CPUs purchased by Persons who opted out exceeds 50,000

25   CPUs, Defendant may elect to terminate this Agreement on the ground that exclusion at that level

26   threatens to frustrate the essential purpose of this Agreement. Defendant may exercise its right to

27   terminate under this subsection by notifying Class Counsel of its election no later than ten (10)

28   business days after receipt of the list of Persons who opted out.

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 1   7.     PRELIMINARY APPROVAL ORDER AND FINAL APPROVAL ORDER.

 2          7.1     Promptly after the execution of this Settlement Agreement, Class Counsel shall

 3   submit this Agreement together with its Exhibits to the Court and shall move the Court for

 4   Preliminary Approval of the settlement set forth in this Agreement; and entry of a Preliminary

 5   Approval Order, which order shall set a Final Approval Hearing date and approve the Notice and

 6   Claim Form for dissemination substantially in the form of Exhibits A, B, C, and D hereto. The

 7   Preliminary Approval Order shall also authorize the Parties, without further approval from the

 8   Court, to agree to and adopt such amendments, modifications and expansions of the Settlement
 9   Agreement and its implementing documents (including all exhibits to this Agreement) so long as

10   they are consistent in all material respects with the terms of the Final Judgment and do not limit or

11   impair the rights of the Settlement Class.

12          7.2     At the time of the submission of this Agreement to the Court as described above,

13   Class Counsel shall request that, after Notice is given, the Court hold a Final Approval Hearing

14   and approve the settlement of the Action as set forth herein.

15          7.3     After Notice is given, the Parties shall request and seek to obtain from the Court a

16   Final Judgment, which will (among other things):

17                  (a)     find that the Court has jurisdiction over all Settlement Class Members and

18   Released Claims, such that the Court may approve the Agreement, including all exhibits thereto;

19                  (b)     approve the Settlement Agreement and the proposed settlement as fair,

20   reasonable and adequate as to, and in the best interests of, the Settlement Class Members; direct

21   the Parties and their counsel to implement and consummate the Agreement according to its terms

22   and provisions; and declare the Agreement to be binding on, and have res judicata and preclusive

23   effect in all pending and future lawsuits or other proceedings maintained by or on behalf of

24   Plaintiffs and the Releasing Parties;

25                  (c)     find that the Notice implemented pursuant to the Agreement (i) constitutes

26   the best practicable notice under the circumstances; (ii) constitutes notice that is reasonably

27   calculated, under the circumstances, to apprise Settlement Class Members of the pendency of the

28   Action, their right to object to or exclude themselves from the proposed Agreement, and to appear

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 1   at the Final Approval Hearing; (iii) is reasonable and constitutes due, adequate, and sufficient

 2   notice to all persons entitled to receive notice; and (iv) meets all applicable requirements of the

 3   Federal Rules of Civil Procedure, the Due Process Clause of the United States Constitution, and

 4   the rules of the Court;

 5                  (d)        find that the Class Representatives and Class Counsel adequately represent

 6   the Settlement Class for purposes of entering into and implementing the Agreement;

 7                  (e)        dismiss the Action (including all individual claims and Settlement Class

 8   Claims presented thereby) on the merits and with prejudice, without fees or costs to any Party
 9   except as provided in the Settlement Agreement;

10                  (f)        incorporate the Release set forth above, make the Release effective as of the

11   Effective Date, and forever discharge the Released Parties as set forth herein;

12                  (g)        permanently bar and enjoin all Settlement Class Members who have not

13   been properly excluded from the Settlement Class from filing, commencing, prosecuting,

14   intervening in, or participating (as class members or otherwise) in, any lawsuit or other action in

15   any jurisdiction based on the Released Claims;

16                  (h)        without affecting the finality of the Final Judgment for purposes of appeal,

17   retain jurisdiction as to all matters relating to administration (except disputes over the Claim Form

18   as described in Paragraph 5.4), consummation, enforcement, and interpretation of the Settlement

19   Agreement and the Final Judgment, and for any other necessary purpose; and

20                  (i)        incorporate any other provisions, as the Court deems necessary and just, so

21   long as they do not conflict with the other provisions of this Agreement.

22   8.     CLASS COUNSEL’S ATTORNEYS’ FEES AND REIMBURSEMENT OF

23          EXPENSES; INCENTIVE AWARD.

24          8.1     Defendant acknowledges that Class Counsel is entitled to be paid from the

25   Settlement Fund reasonable attorneys’ fees and reimbursement of their expenses, in an amount

26   approved by the Court, and that said amount shall serve as the Fee Award. The Fee Award shall be

27   determined by the Court on the petition of Class Counsel. Without the Parties having discussed the

28   issue of attorneys’ fees at any point in their negotiations, and with no consideration given or

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 1   received, Class Counsel agrees to limit its petition for attorneys’ fees and reimbursement of

 2   expenses to no more than 30 percent (30%) of the Settlement Fund, or Three Million Six Hundred

 3   Thirty Thousand US Dollars ($3,630,000.00). Payment of the Fee Award shall be made from the

 4   Settlement Fund and should Class Counsel seek or be awarded less than this amount, the

 5   difference in the amount sought and/or the amount ultimately awarded pursuant to this Paragraph

 6   shall remain in the Settlement Fund for distribution to the claiming Class Members.

 7          8.2     The Fee Award shall be payable within seven business (7) days after entry of the

 8   Court’s Final Judgment, subject to Class Counsel executing the Undertaking Regarding Attorneys’
 9   Fees and Costs (the “Undertaking”) attached hereto as Exhibit E, and providing all payment

10   routing information and tax I.D. numbers for Class Counsel. Payment of the Fee Award shall be

11   made by wire transfer to Class Counsel in accordance with wire instructions to be provided to the

12   Settlement Administrator, after completion of necessary forms, including but not limited to W-9

13   forms. Notwithstanding the foregoing, if for any reason the Final Judgment is reversed or rendered

14   void, then any Person or firm who has received such funds shall be liable for payments made

15   pursuant to this subparagraph, and shall return such funds to the Settlement Fund by redepositing

16   them in the Escrow Account. Additionally, should any party to the Undertaking dissolve, merge,

17   declare bankruptcy, become insolvent, or cease to exist prior to the final payment to Settlement

18   Class Members, the Parties shall work together in good faith to identify the appropriate successor

19   party(ies) and that party(ies) shall execute a new undertaking guaranteeing repayment of funds

20   within fourteen (14) days of such an occurrence. Class Counsel further agrees to maintain accurate

21   records and accounting regarding the distribution of the Fee Award. Any disputes between the

22   Parties regarding the appropriate party(ies) to execute a new undertaking, as described above, shall

23   be submitted to the Honorable James F. Holderman (ret.) of JAMS for binding determination.

24          8.3     Defendant acknowledges that the Class Representatives shall be paid from the

25   Settlement Fund an incentive award, in an amount approved by the Court on the petition of Class

26   Counsel. With no consideration having been given or received, Plaintiffs agree to seek no more

27   than seven thousand five hundred dollars ($7,500.00) each from the Court as the incentive award.

28   Should the Court award less than this amount, the difference in the amount sought and the amount

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 1   ultimately awarded pursuant to this Paragraph shall remain in the Settlement Fund. Such incentive

 2   awards shall be paid from the Settlement Fund (in the form of checks to the Class Representatives

 3   that are sent care of Class Counsel), within five (5) business days after entry of the Court’s Final

 4   Judgment if there have been no objections to the Settlement Agreement, and, if there have been

 5   such objections, within five (5) business days after the Effective Date.

 6   9.     CONDITIONS OF SETTLEMENT, EFFECT OF DISAPPROVAL,

 7          CANCELLATION OR TERMINATION.

 8          9.1     The Effective Date of this Settlement Agreement shall not occur unless and until
 9   each of the following events occurs and shall be the date upon which the last (in time) of the

10   following events occurs:

11                  (a)     The Parties and their counsel have executed this Agreement;

12                  (b)     The Court has entered the Preliminary Approval Order;

13                  (c)     The Court has entered an order finally approving the Agreement, following

14   Notice to the Settlement Class and a Final Approval Hearing, as provided in the Federal Rules of

15   Civil Procedure, and has entered the Final Judgment, or a judgment consistent with this

16   Agreement in all material respects; and

17                  (d)     The Final Judgment has become Final, as defined above, or, in the event

18   that the Court enters an order and final judgment in a form other than that provided above

19   (“Alternative Judgment”) and that has the consent of the Parties, such Alternative Judgment

20   becomes Final.

21          9.2     If some or all of the conditions specified in Paragraph 9.1 are not met, or in the

22   event that this Agreement is not approved by the Court, or the settlement set forth in this

23   Agreement is terminated or fails to become effective in accordance with its terms, then this

24   Settlement Agreement shall be canceled and terminated subject to Paragraph 6.1 unless Class

25   Counsel and Defendant’s Counsel mutually agree in writing to proceed with this Agreement. If

26   any Party contends that another Party is in material breach of the terms of this Agreement, the

27   non-breaching Party shall provide written notice to the breaching Party within thirty (30) days of

28   the alleged breach. If the breaching Party fails to remedy or cure said breach within a reasonable

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 1   period of time following receipt of written notice, the non-breaching Party, provided that it is in

 2   substantial compliance with the terms of this Agreement, may terminate this Agreement on notice

 3   to all of the Parties. Notwithstanding anything herein, the Parties agree that the Court’s failure to

 4   approve, in whole or in part, the attorneys’ fees payment to Class Counsel and/or the incentive

 5   award set forth in Paragraph 8 above shall not prevent the Agreement from becoming effective,

 6   nor shall it be grounds for termination.

 7          9.3     If this Agreement is terminated or fails to become effective for the reasons set forth

 8   in Paragraphs 6.1 and 9.1-9.2 above, the Parties shall be restored to their respective positions in
 9   the Action as of the date of the signing of this Agreement. In such event, any Final Judgment or

10   other order entered by the Court in accordance with the terms of this Agreement shall be treated as

11   vacated, nunc pro tunc, and the Parties shall be returned to the status quo ante with respect to the

12   Action as if this Agreement had never been entered into.

13   10.    MISCELLANEOUS PROVISIONS.

14          10.1    The Parties (a) acknowledge that it is their intent to consummate this Settlement

15   Agreement; and (b) agree, subject to their fiduciary and other legal obligations, to cooperate to the

16   extent reasonably necessary to effectuate and implement all terms and conditions of this

17   Agreement, to exercise their reasonable best efforts to accomplish the foregoing terms and

18   conditions of this Agreement, to secure final approval, and to defend the Final Judgment through

19   any and all appeals. Class Counsel and Defendant’s Counsel agree to cooperate with one another

20   in seeking Court approval of the Preliminary Approval Order, the Settlement Agreement, and the

21   Final Judgment, and promptly to agree upon and execute all such other documentation as may be

22   reasonably required to obtain final approval of the Agreement.

23          10.2    The Parties intend this Settlement Agreement to be a final and complete resolution

24   of all disputes between them with respect to the Released Claims by Plaintiffs, the Settlement

25   Class and each or any of them, on the one hand, against the Released Parties, and each or any of

26   the Released Parties, on the other hand. Accordingly, the Parties agree not to assert in any forum

27   that the Action was brought by Plaintiffs or defended by Defendant, or each or any of them, in bad

28   faith or without a reasonable basis.

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 1          10.3    The Parties have relied upon the advice and representation of counsel, selected by

 2   them, concerning their respective legal liability for the claims hereby released. The Parties have

 3   read and understand fully the above and foregoing agreement and have been fully advised as to the

 4   legal effect thereof by counsel of their own selection and intend to be legally bound by the same.

 5          10.4    Whether or not the Effective Date occurs or the Settlement Agreement is

 6   terminated, neither this Agreement nor the settlement contained herein, nor any act performed or

 7   document executed pursuant to or in furtherance of this Agreement or the settlement:

 8                  (a)     is, may be deemed, or shall be used, offered or received against the
 9   Released Parties, or each or any of them, as an admission, concession or evidence of, the validity

10   of any Released Claims, the truth of any fact alleged by the Plaintiffs, the deficiency of any

11   defense that has been or could have been asserted in the Action, the violation of any law or statute,

12   the reasonableness of the settlement amount or the Fee Award, or of any alleged wrongdoing,

13   liability, negligence, or fault of the Released Parties, or any of them;

14                  (b)     is, may be deemed, or shall be used, offered or received against Defendant,

15   as an admission, concession or evidence of any fault, misrepresentation or omission with respect

16   to any statement or written document approved or made by the Released Parties, or any of them;

17                  (c)     is, may be deemed, or shall be used, offered or received against the

18   Released Parties, or each or any of them, as an admission or concession with respect to any

19   liability, negligence, fault or wrongdoing as against any Released Parties, in any civil, criminal or

20   administrative proceeding in any court, administrative agency or other tribunal. However, the

21   settlement, this Agreement, and any acts performed and/or documents executed in furtherance of

22   or pursuant to this Agreement and/or Settlement may be used in any proceedings as may be

23   necessary to effectuate the provisions of this Agreement. Further, if this Settlement Agreement is

24   approved by the Court, any Party or any of the Released Parties may file this Agreement and/or

25   the Final Judgment in any action that may be brought against such Party or Parties in order to

26   support a defense or counterclaim based on principles of res judicata, collateral estoppel, release,

27   good faith settlement, judgment bar or reduction, or any other theory of claim preclusion or issue

28   preclusion or similar defense or counterclaim;

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 1                  (d)      is, may be deemed, or shall be construed against Plaintiffs, the Settlement

 2   Class, the Releasing Parties, or each or any of them, or against the Released Parties, or each or any

 3   of them, as an admission or concession that the consideration to be given hereunder represents an

 4   amount equal to, less than or greater than that amount that could have or would have been

 5   recovered after trial; and

 6                  (e)      is, may be deemed, or shall be construed as or received in evidence as an

 7   admission or concession against Plaintiffs, the Settlement Class, the Releasing Parties, or each and

 8   any of them, or against the Released Parties, or each or any of them, that any of Plaintiffs’ claims
 9   are with or without merit or that damages recoverable in the Action would have exceeded or

10   would have been less than any particular amount.

11          10.5    Upon the Effective Date, all documents and information marked or designated as

12   “Confidential” or “Highly Confidential - Attorney’s Eyes Only,” as defined in and subject to the

13   Protective Order, granted on February 29, 2016 (dkt. 42), or any other protective order entered in

14   this Action, shall be disposed of within the time frame and according to the procedures set forth in

15   the Protective Order.

16          10.6    The headings used herein are used for the purpose of convenience only and are not

17   meant to have legal effect.

18          10.7    The waiver by one Party of any breach of this Agreement by any other Party shall

19   not be deemed as a waiver of any other prior or subsequent breaches of this Agreement.

20          10.8    All of the Exhibits to this Agreement are material and integral parts thereof and are

21   fully incorporated herein by this reference.

22          10.9    This Agreement and its Exhibits set forth the entire agreement and understanding

23   of the Parties with respect to the matters set forth herein, and supersede all prior negotiations,

24   agreements, arrangements and undertakings with respect to the matters set forth herein. No

25   representations, warranties or inducements have been made to any Party concerning this

26   Settlement Agreement or its Exhibits other than the representations, warranties and covenants

27   contained and memorialized in such documents. This Agreement may be amended or modified

28   only by a written instrument signed by or on behalf of all Parties or their respective successors-in-

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 1   interest.

 2           10.10 Except as otherwise provided herein, each Party shall bear its own costs.

 3           10.11 Plaintiffs represent and warrant that they have not assigned any claim or right or

 4   interest therein as against the Released Parties to any other Person or Party and that they are fully

 5   entitled to release the same.

 6           10.12 Each counsel or other Person executing this Settlement Agreement, any of its

 7   Exhibits, or any related settlement documents on behalf of any Party hereto, hereby warrants and

 8   represents that such Person has the full authority to do so and has the authority to take appropriate
 9   action required or permitted to be taken pursuant to the Agreement to effectuate its terms.

10           10.13 This Agreement may be executed in one or more counterparts. Signature by digital

11   means, facsimile, or in PDF format will constitute sufficient execution of this Agreement. All

12   executed counterparts and each of them shall be deemed to be one and the same instrument. A

13   complete set of original executed counterparts shall be filed with the Court if the Court so

14   requests.

15           10.14 This Settlement Agreement shall be binding upon, and inure to the benefit of, the

16   successors and assigns of the Parties hereto and the Released Parties.

17           10.15 The Court shall retain jurisdiction with respect to implementation and enforcement

18   of the terms of this Agreement, and all Parties hereto submit to the jurisdiction of the Court for

19   purposes of implementing and enforcing the settlement embodied in this Agreement.

20           10.16 This Settlement Agreement shall be governed by and construed in accordance with

21   the laws of the State of California.

22           10.17 This Agreement is deemed to have been prepared by counsel for all Parties, as a

23   result of arm’s-length negotiations among the Parties. Because all Parties have contributed

24   substantially and materially to the preparation of this Agreement, it shall not be construed more

25   strictly against one Party than another.

26           10.18 Where this Agreement requires notice to the Parties, such notice shall be sent to the

27   undersigned counsel: Rafey S. Balabanian, Edelson PC, 123 Townsend Street, Suite 100, San

28   Francisco, California 94107; Matthew D. Powers, O’Melveny & Myers LLP, Two Embarcadero

     CLASS ACTION SETTLEMENT                           25                CASE NO. 4:15-CV-04922-HSG
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 1   Center, 28th Floor, San Francisco, California, 94111.

 2
                      [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK.
 3
                                     SIGNATURE PAGE FOLLOWS]
 4

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     CLASS ACTION SETTLEMENT                         26      CASE NO. 4:15-CV-04922-HSG
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     IT IS SO AGREED TO BY THE PARTIES:
 1
                Dated: August 9, 2019   TONY DICKEY, individually and as representative of
 2                                      the Class
 3

 4
                Dated: August 9, 2019   PAUL PARMER, individually and as representative of
 5                                      the Class
 6

 7

 8
 9              Dated: August 9, 2019   ADVANCED MICRO DEVICES, INC.
10
                                        By:
11

12
     IT IS SO STIPULATED BY COUNSEL:
13
                Dated: August 9, 2019   EDELSON PC
14

15
                                        By:
16                                      Rafey S. Balabanian
                                        Todd Logan
17                                      Attorneys for Plaintiffs and the Settlement Class

18
                Dated: August 9, 2019   O’MELVENY & MYERS, LLP
19

20
                                        By:
21                                      Matthew D. Powers
                                        E. Clay Marquez
22                                      Attorneys for Defendant
                                        ADVANCED MICRO DEVICES, INC.
23

24

25

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27

28

     CLASS ACTION SETTLEMENT               27                CASE NO. 4:15-CV-04922-HSG
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     IT IS SO AGREED TO BY THE PARTIES:
 1
                Dated: August 9, 2019   TONY DICKEY, individually and as representative of
 2                                      the Class
 3

 4
                Dated: August 9, 2019   PAUL PARMER, individually and as representative of
 5                                      the Class
 6

 7

 8
 9              Dated: August 9, 2019   ADVANCED MICRO DEVICES, INC.
10
                                        By:
11

12
     IT IS SO STIPULATED BY COUNSEL:
13
                Dated: August 9, 2019   EDELSON PC
14

15
                                        By:
16                                      Rafey S. Balabanian
                                        Todd Logan
17                                      Attorneys for Plaintiffs and the Settlement Class

18
                Dated: August 9, 2019   O’MELVENY & MYERS, LLP
19

20
                                        By:
21                                      Matthew D. Powers
                                        E. Clay Marquez
22                                      Attorneys for Defendant
                                        ADVANCED MICRO DEVICES, INC.
23

24

25

26

27

28

     CLASS ACTION SETTLEMENT               27                CASE NO. 4:15-CV-04922-HSG
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     IT IS SO AGREED TO BY THE PARTIES:
 1
                Dated: August 9, 2019   TONY DICKEY, individually and as representative of
 2                                      the Class
 3

 4
                Dated: August 9, 2019   PAUL PARMER, individually and as representative of
 5                                      the Class
 6

 7

 8
 9              Dated: August 9, 2019   ADVANCED MICRO DEVICES, INC.
10
                                        By:
11

12
     IT IS SO STIPULATED BY COUNSEL:
13
                Dated: August 9, 2019   EDELSON PC
14

15
                                        By:
16                                      Rafey S. Balabanian
                                        Todd Logan
17                                      Attorneys for Plaintiffs and the Settlement Class

18
                Dated: August 9, 2019   O’MELVENY & MYERS, LLP
19

20
                                        By:
21                                      Matthew D. Powers
                                        E. Clay Marquez
22                                      Attorneys for Defendant
                                        ADVANCED MICRO DEVICES, INC.
23

24

25

26

27

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     CLASS ACTION SETTLEMENT               27                CASE NO. 4:15-CV-04922-HSG
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        Exhibit A
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                                            Exhibit A: Claim Form


                                       AMD CPU SETTLEMENT CLAIM FORM

THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST
BE FULLY COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
Instructions: Fill out each section of this form, check the boxes that apply, and sign where indicated. Settlement Distributions
will be paid on a per-CPU basis, with a maximum of five (5) qualifying purchases paid per Claimant, without proof of
purchase. Claimants who purchased more than five (5) CPUs must provide proof of purchase upon request.
Name (First, M.I., Last): _______________________________            ________      __________________________________
Street Address: ________________________________________________________________________
City: _______________________________________ State: ____ ____                   Zip Code: ____ ____ ____ ____ ____
Email Address (optional): _________________________________________________________________
Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
Class Member Verification: By submitting this claim form and checking the boxes below, I declare that I believe I am a
member of the Settlement Class and that the following statements are true:
□ I purchased ____ [insert the number of CPUs purchased] AMD FX-8120, FX-8150, FX-8320, FX-8350, FX-8370, FX-
9370, and/or FX-9590 CPUs.
□ At the time I purchased the AMD CPU, I was living in the state of California; and/or
□ Prior to purchasing the AMD CPU, I visited the AMD.com website.
Signature: _____________________________________________                 Date: ___ ___/ ___ ___/ ___ ___
Print Name: ____________________________________________
The Settlement Administrator will review your Claim Form, and if accepted, you will be mailed a check for a pro rata share
depending on the number of valid claim forms received. This process takes time, please be patient.
                         Questions, visit www.amdcpusettlement.com or call [toll free number]
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         Exhibit B
Case 4:15-cv-04922-HSG Document 152-1 Filed 08/09/19 Page 36 of 51




 COURT AUTHORIZED NOTICE OF CLASS                           AMD CPU Settlement
 ACTION AND PROPOSED SETTLEMENT                             Settlement Administrator                            First-Class
                                                            P.O. Box 0000                                          Mail
                                                                                                                US Postage
                                                            City, ST 00000-0000
   If you purchased an                                                                                             Paid
                                                                                                                Permit #__
 AMD FX-8120, FX-8150,
 FX-8320, FX-8350, FX-
  8370, FX-9370, or FX-                                     |||||||||||||||||||||||
                                                            Postal Service: Please do not mark barcode
  9590 CPU, you may be
   part of a class action                                   XXX—«ClaimID» «MailRec»
        settlement.
                                                            «First1» «Last1»
                                                            «C/O»
                                                            «Addr1» «Addr2»
                                                            «City», «St» «Zip» «Country»


                                                                                          By Order of the Court Dated: [date]



 XXX

                                       AMD CPU SETTLEMENT CLAIM FORM

THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE] AND MUST
BE FULLY COMPLETED, BE SIGNED, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
Instructions: Fill out each section of this form, check the boxes that apply, and sign where indicated. Settlement Distributions
will be paid on a per-CPU basis, with a maximum of five (5) qualifying purchases paid per Claimant, without proof of
purchase. Claimants who purchased more than five (5) CPUs must provide proof of purchase upon request.
Name (First, M.I., Last): _______________________________            ________      __________________________________
Street Address: ________________________________________________________________________
City: _______________________________________ State: ____ ____                   Zip Code: ____ ____ ____ ____ ____
Email Address (optional): _________________________________________________________________
Contact Phone #: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ (You may be contacted if further information is required.)
Class Member Verification: By submitting this claim form and checking the boxes below, I declare that I believe I am a
member of the Settlement Class and that the following statements are true:
□ I purchased ____ [insert the number of CPUs purchased] AMD FX-8120, FX-8150, FX-8320, FX-8350, FX-8370, FX-
9370, and/or FX-9590 CPUs.
□ At the time I purchased the AMD CPU, I was living in the state of California; and/or
□ Prior to purchasing the AMD CPU, I visited the AMD.com website.
Signature: _____________________________________________                 Date: ___ ___/ ___ ___/ ___ ___
Print Name: ____________________________________________
The Settlement Administrator will review your Claim Form, if accepted you will be mailed a check for a pro rata share
depending on the number of valid claim forms received. This process takes time, please be patient.
                         Questions, visit www.amdcpusettlement.com or call [toll free number]
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A settlement has been reached in a class action lawsuit against Advanced Micro Devices, Inc (“AMD” or “Defendant”), alleging it
violated the law by misrepresenting the number of “cores” in certain of its CPUs AMD denies all claims and that it violated any law, but
has agreed to the settlement to avoid the uncertainties and expenses associated with continuing the case
Am I a Class Member? Our records indicate you may be a Class Member Class Members are persons that (1) purchased any of
AMD’s FX-8120, FX-8150, FX-8320, FX-8350, FX-8370, FX-9370, and FX-9590 computer chips, and (2) made that purchase either
while living in California or after visiting the AMD com website (or both) You are receiving this Notice because records produced
in this case indicated that you likely made a purchase that fits these criteria More information is available at
www amdcpusettlement com
What Can I Get? If approved by the Court, Defendant will establish a Settlement Fund of $12,100,000 to pay all valid claims submitted
by the Settlement Class, together with notice and administration expenses, attorneys’ fees and costs, and an incentive award for the
class representatives If you are entitled to relief, you may submit a claim to receive a pro rata share of the Settlement Fund, up to $300
per CPU you purchased
How Do I Get a Payment? You must submit a timely and properly completed Claim Form no later than [claims deadline] You may
use the Claim Form attached to this Notice or submit one online at www amdcpusettlement com
What are My Other Options? You may choose to exclude yourself from the Class by sending a letter to the settlement administrator no
later than [objection/exclusion deadline] If you exclude yourself, you will not receive a settlement payment, but you keep any rights
you may have to sue AMD over the legal claims raised in the lawsuit You and/or your lawyer also have the right to appear before the
Court and/or object to the proposed settlement Your written objection must be filed no later than [objection/exclusion deadline] Specific
instructions about how to object to, or exclude yourself from, the Settlement are available at www amdcpusettlement com If you file a
claim or do nothing, and the Court approves the Settlement, you will be bound by all of the Court’s orders and judgments in this case In
addition, your claims relating to the alleged misrepresentations in this case against AMD will be released
Who Represents Me? The Court has appointed lawyers from Edelson PC to represent the class These attorneys are called “Class
Counsel ” You will not be charged for these lawyers Plaintiffs Tony Dickey and Paul Parmer are Class Members and the Court
appointed them “Class Representatives ” You can be represented by your own lawyer in this case at your expense
When Will the Court Consider the Proposed Settlement? The Court will hold the Final Approval Hearing at _____ .m. on [date] in
courtroom 2 at the Ronald V Dellums Federal Building & United States Courthouse, 1301 Clay Street, Oakland, CA 94612 At that
hearing, the Court will: hear any objections to the fairness of the settlement; determine the fairness of the settlement; consider Class
Counsel’s request for attorneys’ fees and costs; and decide whether to award the Class Representatives up to $7500 00 each from the
Settlement Fund for helping to bring and settle this case Defendant has agreed to pay Class Counsel in an amount to be determined and
awarded by the Court from the Settlement Fund
How Do I Get More Information? For more information, including the full Notice, Claim Form and Settlement Agreement go to
www amdcpusettlement com, contact the settlement administrator at 1-___-___-____ or AMD CPU Settlement Administrator,
[address], or call Class Counsel at 1-415-212-9300


PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE ABOUT THIS
SETTLEMENT OR THE CLAIM PROCESS All questions regarding the Settlement or claims process should be directed to the
Settlement Administrator or to Class Counsel




                                                                                                                  NO POSTAGE
                                                                                                                  NECESSARY
                                                                                                                  IF MAILED IN
                                                                                                                  THE UNITED
                                                                                                                     STATES




                                               AMD CPU Settlement Administrator
                                               c/o [Settlement Administrator]
                                               PO Box 0000
                                               City, ST 00000-0000




XXX
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        Exhibit C
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FROM: NOTICE@CLASSACTIONADMIN.COM
TO: JOHNQCLASSMEMBER@GMAIL.COM
RE: LEGAL NOTICE OF CLASS ACTION

   If you purchased an AMD FX-8120, FX-8150, FX-8320, FX-8350, FX-8370, FX-
         9370, or FX-9590 CPU, you may be part of a class action settlement
                A court authorized this notice. You are not being sued. This is not a solicitation from a lawyer.

A settlement has been reached in a class action lawsuit against Advanced Micro Devices, Inc. (“AMD” or
“Defendant”), alleging it violated the law by misrepresenting the number of “cores” in its FX-8120, FX-8150,
FX-8320, FX-8350, FX-8370, FX-9370, or FX-9590 CPUs. AMD denies all claims and that it violated any law,
but has agreed to the settlement to avoid the uncertainties and expenses associated with continuing the case.

                                                 Am I a Class Member?

Our records indicate you may be a Class Member. Class Members are persons that (1) purchased any of AMD’s
FX-8120, FX-8150, FX-8320, FX-8350, FX-8370, FX-9370, and FX-9590 computer chips, and (2) made that
purchase either while living in California or after visiting the AMD.com website (or both). You are receiving this
Notice because records produced in this case indicated that you likely made a purchase that fits these criteria.
More information is available at www.amdcpusettlement.com.

                                                      What can I get?

If approved by the Court, Defendant will establish a Settlement Fund of $12,100,000.00 to pay all valid claims
submitted by the Settlement Class, together with notice and administration expenses, attorneys’ fees and costs,
and an incentive award for the class representatives. If you are entitled to relief, you may submit a claim to receive
a pro rata share of the Settlement Fund, up to $300 per CPU you purchased. Claims will be limited to five (5)
qualifying purchases per Claimant, absent proof of purchase. Claimants who purchased more than five (5) CPUs
must provide proof of purchase upon request.

                                                How do I get a payment?

You must submit a timely and properly completed Claim Form no later than [claims deadline]. You may request
a claim form or submit one online at www.amdcpusettlement.com.

                                              What are my other options?

You may choose to exclude yourself from the Class by sending a letter to the settlement administrator no later
than [objection/exclusion deadline]. If you exclude yourself, you will not receive a settlement payment, but you
keep any rights you may have to sue AMD over the legal claims raised in the lawsuit. You and/or your lawyer
also have the right to appear before the Court and/or object to the proposed settlement. Your written objection
must be filed no later than [objection/exclusion deadline]. Specific instructions about how to object to, or exclude
yourself from, the Settlement are available at www.amdcpusettlement.com. If you file a claim or do nothing, and
the Court approves the Settlement, you will be bound by all of the Court’s orders and judgments in this case. In
addition, your claims relating to the allegations in this case against AMD or any other Released Parties will be
released.
              Case 4:15-cv-04922-HSG Document 152-1 Filed 08/09/19 Page 40 of 51


                                               Who represents me?

The Court has appointed lawyers from Edelson PC to represent the class. These attorneys are called “Class
Counsel.” You will not be charged for these lawyers. If you want to be represented by your own lawyer in this
case, you may hire one at your expense. Plaintiffs Tony Dickey and Paul Parmer are Class Members like you and
the Court appointed them as “Class Representatives.”

                            When will the court consider the proposed settlement?

The Court will hold the Final Approval Hearing at _____ .m. on [date] in courtroom 2 at the Ronald V. Dellums
Federal Building & United States Courthouse, 1301 Clay Street, Oakland, CA 94612. At that hearing, the Court
will: hear any objections to the fairness of the settlement; determine the fairness of the settlement; consider Class
Counsel’s request for attorneys’ fees and costs; and decide whether to award the Class Representatives up to
$7500.00 each from the Settlement Fund for helping to bring and settle this case. Class Counsel will be paid from
the Settlement Fund in an amount to be determined and awarded by the Court. Class Counsel will seek no more
than 30% of the Settlement Fund; the Court may award less than this amount.

                                        How do I get more information?

For more information, including the full Notice, Claim Form and Settlement Agreement go to
www.amdcpusettlement.com, contact the settlement administrator at 1-___-___-____, or call Class Counsel at 1-
415-212-9300.

PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE ABOUT
THIS SETTLEMENT OR THE CLAIM PROCESS. All questions regarding the Settlement or claims process should
be directed to the Settlement Administrator or to Class Counsel.
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        Exhibit D
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         Exhibit E
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 1

 2
                                UNITED STATES DISTRICT COURT
 3                            NORTHERN DISTRICT OF CALIFORNIA
 4                                   OAKLAND DIVISION

 5   TONY DICKEY AND PAUL PARMER,                         Case No. 4:15-cv-04922-HSG
     individually and on behalf of all others
 6   similarly situated,                                  Hon. Haywood S. Gilliam, Jr.

 7                          Plaintiffs,
 8
             v.
 9
     ADVANCED MICRO DEVICES, INC., a
10   Delaware corporation,
11                          Defendant.
12

13            STIPULATED UNDERTAKING RE: ATTORNEYS’ FEES AND COSTS

14          Defendant Advanced Micro Devices, Inc, (“AMD”), and Plaintiffs Tony Dickey and Paul

15 Parmer (“Plaintiffs”) (collectively, “the Parties”), by and through and including their

16 undersigned counsel, stipulate and agree as follows:

17          WHEREAS, Class Counsel and their law firm Edelson PC (collectively “Edelson PC”)

18 desire to give an undertaking (the “Undertaking”) for repayment of any award of attorneys’ fees

19 and costs approved by the Court;

20          WHEREAS, the Parties agree that this Undertaking is in the interests of all Parties and in

21 service of judicial economy and efficiency;

22          NOW, THEREFORE, the undersigned Class Counsel, on behalf of themselves and as

23 an agents of their law firm, Edelson PC, by making this Undertaking, hereby submit themselves

24 and their law firm, Edelson PC, and its shareholders, members, and/or partners, to the

25 jurisdiction of the United States District Court for the Northern District of California (“the

26 Court”) for the purpose of enforcing the provisions of this Undertaking and any and all disputes

27

28
     STIPULATED UNDERTAKING                       1                          NO. 4:15-CV-04922-HSG
          Case 4:15-cv-04922-HSG Document 152-1 Filed 08/09/19 Page 50 of 51




 1 relating to or arising out of the reimbursement obligation set forth herein and in the Settlement

 2 Agreement. Capitalized terms used herein without definition have the meanings given to them in

 3 the Settlement Agreement. In the event that the Final Settlement Order and Judgment is vacated,

 4 overturned, reversed, or rendered void as a result of an appeal, or the Settlement Agreement is

 5 voided, rescinded, or otherwise terminated for any other reason, in whole or in part, Class

 6 Counsel shall, within thirty (30) days repay to Defendant the full amount of the attorneys’ fees

 7 and costs paid by Defendant to Class Counsel.

 8          In the event the attorney fees and costs awarded by the Court or any part of them are

 9 vacated, modified, reversed, or rendered void as a result of an appeal, Class Counsel shall within

10 thirty (30) days repay to Defendant the attorneys’ fees and costs paid by Defendant to Class

11 Counsel and/or the Class Representative in the amount vacated or modified.

12          This Undertaking and all obligations set forth herein shall expire upon finality of all

13 direct appeals of the Final Settlement Order and Judgment.

14          In the event Class Counsel fails to repay to Defendant any of the attorneys’ fees and costs

15 that are owed to it pursuant to this Undertaking, the Court shall, upon application of Defendant,

16 and notice to Class Counsel and Edelson PC, summarily issue orders, including but not limited to

17 judgments and attachment orders against each of Class Counsel and Edelson PC for the full

18 amount of the attorney’s fees and costs plus any additional attorney’s fees or costs incurred by

19 Defendant in connection with the litigation or enforcement of this Undertaking, and may make

20 appropriate findings for sanctions for contempt of court.

21          The undersigned stipulates, warrants, and represents that he has both actual and apparent

22 authority to enter into this stipulation, agreement, and undertaking on behalf of Edelson PC.

23          This Undertaking may be executed in one or more counterparts, each of which shall be

24 deemed an original but all of which together shall constitute one and the same instrument.

25 Signatures by facsimile or electronic signature shall be deemed the same as original signatures.

26          The undersigned declare under penalty of perjury under the laws of the United States that

27 they have read and understand the foregoing and that it is true and correct.

28
     STIPULATED UNDERTAKING                       2                           NO. 4:15-CV-04922-HSG
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